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OW EZRMOISTRICT OF ILLINOIS, EASTERN DIVISION
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JANICK KAGE COURT

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U.S. DISTRICT Plaintiff, V4C 104 ]

Vv.

CITY OF CHICAGO, POLICE OFFICHKR R.
TURNER, POLICE OFFICER JEDRY, SERGEANT
HANLON, and OTHER AS-YET UNKNOWN
CHICAGO POLICE OFFICERS, Ma,

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Defendants. )

COMPLAINT

NOW COMES Plaintiff, JANTCE EASPER, by her altorneys,
LOEVY & LOBVY, and complaining of Defendants, CITY OF CHICAGO,
POLICE OFFICER R. TURNER, PODTCE OFFICER JRDRY, SERGEANT HANLON,
and OTHER AS-YET UNKNOWN CHICAGO POLICE OFFICERS (henceforth
collectively known as “Defendanl Officers”), in their individual
capacities, states as follows:

Introduction

1. This action is krought pursuant Lo 47 U.8.¢c,
Section 1983 to redress the deprivation under color of law of
Plaintiff's rights as secured by the United States Constitution.

A. This case invelves an allegation by a 23-year
Chicago Police Officer that another Chicago Police Officer used

torture against her in the course of an unlawlul off-duty arresL.
 

 

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Jurisdiction and Venue

3. This Court has jurisdiction of the action pursuant
to 28 U.S.C. 6 1331 and 28 U.5,C. § 1367,

4, Venue is proper under 28 U.8.C. § 391 (b). on
information and belief, all or most of the parties reside in this
judicial district, and the events giving rise to the claims
asserted herein ajl occurred within district.

Background

5. For Lhe past Lwenty-three years, MS. Kasper has
been employed as a police ofticer for the Chicago Police
Department.

6. On July 14, 2002, Plaintiff and her brother had an
argument outside of her mother’s house, Jocated at 5530 5.
Mayfield Avenue, Chicago, Illinois, during which her brother
grabbed her by the neck and held her head over the railing.
Eventually, Plainttifl was able to release herself from her
brother's grasp and escape to her vehicle.

7, Apparently a neighbor had witnessed the struggle
and called the police, and shortly thereafter a Chicago police
vehicle arrived.

B. Before the responding officers went inside Lhe
house to speak with her brother, Plaintiff informed them of who
she was and what had occurred.

9, Plaintiff waited outside in her vehicle with her
five year-old son for approximately twenLly minutes before she had

to Lake him home to use Lhe restroom.
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10, At heme, Plaintiff made several calls to Chicago's
“311" in order to make a battery report.

ll. Finally, around 11:00 p.m., two Chicago Police
Olficers, now known to be Defendanl Police Oflicers Turner, star
number 17268, and Jedry, star number 19144, arrived at her home,

12. Defendants Turner and Jeédry rang PlainLiff's
doorbell and she came out Lo speak with them. Defendants Turner
and Jedry asked her to have a seat on the porch while they went
to call a supervisor, as is Cnicage’s practice when incidents
involve a police oilicer.

13. Shortly thereatLer Defendant Hanlon, star
number 2464, arrived, and the three Defendant Officers spoke
while Plaintiff remained sitting on her porch with her son.

14. ‘Yhe Defendant Officers then proceeded to approach
and grab Plaintiff from the porch, pushing her to the ground and
handcufling her.

15. When Plaintiff asked what was going on, the
Defendant Ofticers replied “none of your business.”

16. he Defendant Olficers escorted Plaintiff
inte the police vehicle, and in the process they hit her head and
leg on the vehicle. One of the Defendants then took a lit
cigarette and maliciously jabbed it inte her wrist, causing a
burn.

1%. Further, after PlainLiff was placed in the

vehicle, one of the beftendant Officers stated words to Lhe effect

 

 
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of, “tuck that bitch I saw her knock you dewn.” At which point,
one of the Defendant Officers fell to the ground.

18. Atther Plaintitl’s arrest she complained Lhat tha
handcuffs were too tight and asked that Lhey ke loosened, but her
requests were ignored.

19. Defendants firsl took Plaintiff to the 8"

District Police Station where she was charged with several] counts
of battery. PlainLliff was then transferred to the female lock-up
facility where she remained fer more than 24-hours.

20. Plaintiff later learned that her brother was
called to the station during her detention, but that he was
refused permission to see her. Further, the Defendant Officers
had him sign two blank criminal complainL forms (with no charge
or deseription filled out) despite that he informed them that he
did not want to press criminal charges against his sister.

21. Further, while in the lock-up Lacility, Plaintilfl
requested, and was denied, medical treatmenl fer the increasing
pain and swelling in her hand,

22. At Plaintiftl’s first court appearance, the battery
charge relating to her brother was dismissed; however, the
Deferndanl Offileers continued their efforts to have Plaintift
prosecuted on the remaining charges despite their knowledge that
she had not committed any battery.

73. In June 2003 the case went to trial and Plaintiff

was found not guijty of all charges.

 
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24, As a result of the Defendant Officers’ use of
excessive force, Plaintiff sultered physical injuries, including
severe bruising to her arm and hands, a loss of feeling in her
fingers, scrapes, and a burn, as well as emotional, financial,
and professional damages.

COUNT I - 42 U.8.c. § 1983
Excessive Force

29. Plaintiff realleges each of Lloregoing Paragraphs
as if fuliy stated herein,

26. As described in the preceding paragraphs, the
conduct ef the Defendant Officers, acting under color af law and
within the scope of their employment, constituted excessive force
in violaLion of the United SLates Constitution,

2?/. The misconduct described in this Counl was
objectively unreasonable and was undertaken intentionally with
willful indifference to Plaintiff's constitutional rights.

28. The misconduct deseribed in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

29. The misconduct described in this Count was
undertaken pursuant to the policy and praclLice of the Chicago
Police Department in that:

a. As a Matter of bolh policy and practice, the

Chicage Police Department directly encourages, and is thereby the

moving force behind, the very type of misconducl at issue here by

 
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failing to adequately train, supervise and cantrel its officers,
such that its L[ailure to do so manifests deliberate indifference;

b. As a matLer of both policy and practice, the
Chicage Police Department facilitates the very type of misconduct
at issue here by failing to adequately punish and discipline
prior instances of similar misconduct, thereby leading Chicago
Police Officers to believe -heir actions will never be
serutinized and, in that way, directly encouraging future abuses
such as these allecting Plaintilf;

Cc. Generally, 488 4a matter of widespread practice
sq prevalent as to comprise municipal policy, officers of the
Chicago Police Department abuse citizens in a manner similar to
that alleged by PlainLiftf in this Count on a frequenl basis, vet
the Chicago Police Department makes findings of wrongdoing in a
disproportionately small number of cuses;

d. Municipal policy-makers are aware of (and
condone and facilitate by their inaction) a “code of silenee”" in
the Chicago Police Neparlment, by which officers fail to report
misconduct committed by oLlher officers, such as the misconduct at
issue in this case; and

e. The Cily of Chicago has knowledge of, and the
relevant policy-makers have failed to act to remedy, the patterns
of abuse deseribe in the preceding sub-paragraphs, despite acLual

knowledge of the same, thereby tacitly approving and ratifying

the type of miscanduct alleged here.

 

 
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COUNT II ~ Supplemental State Law Claim
Battery

30. Plaintiff realleges each of Foreqoing Paragraphs
as if fully stated herein,

31. As deseribed in the preceding paragraphs, the
cenduct of the Defendant Officers, acting within the scope of
their employment as police officers, constiluted unjustified and
offensive physical contact, underLauken willfully and wantonly,
proximately causing Plaintiff's bodily injuries.

32. The misconduct descrtbed in this Count was
objectively unreasonable and was underlLaken intentionally with
willful indifference to Plaintiff's rights.

33. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of athers.

34. ‘lhe misconduct described in this Count was
underLaken by the Delendanl Officers within the scope of their
employment such that their employer, CITY OF CHICAGO, is liable
for their actions,

Count IIT - 42 U.S.c. § 1983
False Arrest/Unlawful Detention
35. Each of the foregoing Paragraphs is incorporated

as if restated fully herein.
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36. As deseribed more fully above, the Defendant
Officers falsely arrested and unlawfully detained Plaintaitt
withoul justification and without probable cause.

37. The misconduct deseribed in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

38. The misconduct described in this Count was
undertaken pursuant to the policy and practice of the Chicago
Police Department in the manner described in preceding
paraqraphs.

39. As a result of the above-described wrongful
infringement of Plaintiff's rights, Plaintiff suffered damages,
including but not limited Lo mental distress and anguish.

COUNT IV - Supplemental State Law Claim
False Imprisonment

40. Each of the foregoing Paragraphs 18 incorporated
as if restated Cully herein.

Al. Plaintiff was arreslLed and imprisoned, and Lhereby
had her liberty te move aboul unlawfully restrained, despite the
Defendant Officers' knowledge Lhat there was no probable cause
for deing so.

42. The Defendant Officers' actions set forth above
were undertaken intentionally, with malice and reckless

indifference to PlainLiff's rights.

 
 

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43. As a result of the above-described wrongful
infringement of Plaintiff's fights, Plaintiff suffered damages,
including but not limited Lo mental distress and anguish.

44. The misconduct described in this Count was
undertaken by the Defendant Officers within the scope of their
employment such that their employer, CITY OF CHICAGO, is liable
for their actions.

Count V - Supplemental State Law Claim
Malicious Prosecution

AN, Plaintiff realleges each of the Foregoing
paragraphs as if fully stated herein.

45. Plaintiff was improperly subjected te judicial
proceedings for which there was no probable cause. These
judicial proceedings were instituked and continued maliciously,
resulting in injury, and all such proceedings were terminated in
Plaintiff's favor jin a manner indicative of innocence.

46. The Defendants accused Plaintiff of various crimes
knowing those accusations to be without probable cause, falsified
reports, and made statements to prosecutors wilh the intent of
exerting influence to institute and continue judicial
proceedings.

47. The Defendants’ slatements to the prosecutors were
made with knowledge that they were false and perjured. Jn se
doing, the Defendants fabricated evidence and withheld

exculpatory intormation.
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49. The misconduct described in this Count was
undertaker with malice, willfulness, and reckless indifference to
the rights of others.

49. As a result of the above-described wrongful
infringement of Plaintiff's rights, Plaintiff has suffered
damages, including but not Jimited to substantial mental stress
and anguish.

50. All of the misconduct described in this Complaint
was underLaken within the scope of Defendants! employment such
that Defendants! respective employers are Liable for the Lorts of
their agents.

COUNT VI - Supplemental State Law Claim
Respondeat Superior

ol. Plaintiff realleges each of foregoing Paragraphs
as if Fully stated herein.

52. In committing the acts alleged in the preceding
paragraphs, the Defendant Olficers were members of, and agents
af, the Chicago Police Department acting at all relevant times
within the scope af their employment.

53. Defendant City of Chicage is liable as principal

for al] Lorts committed by its agents.

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COUNT VII - Supplemental State Law Claim
Indemnification

54. Plaintiff realleges each of foregoing Paragraphs
as if fully stated herein.

55. lillineis law provides that public entities are
directed to pay any tort judament for compensatory damages for
which employees are liable within the scope of their employment
activities.

56. The Defendant Oflicers are or were employees of
the Chicaqo Police Department, who acted within the scope of

their employmenk in commitLing the misconduct described herein.

WHEREFORE, Plaintiff, JANICE KASPER, respectfully
requests that this Court enter judgment in her favor and against
Defendants, CITY OF CHICAGO, POLICE OFFTCER RB. TURNER, POLICE
OFFICER JEDRY, SERBANT HANILON, and OTHER AS-YET UNKNOWN CHICAGO
POLICK OFFICKRS, awarding compensatory damages and attorneys’
fees, along with punitive damages againsk POLICE OFFICER R,
TURNER, POLICE OFFICER JEDRY, SEREAN'T HANLON, and OTHER AS-YET
UNKNOWN CHICAGO POLICE OFFICERS in their inaividual capacities,
as well as any other relief this Court deems just and

appropriate.

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Plaintift,

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JURY DEMAND

VANICE KASPER, hereby demands a trial by

jury pursuant to Federal Rule of Civil Procedure 38(b) on all

issues so triable.

LOEVY & LOEVY

Arthur Loevy

Joan Loevy

Jon Rosenblatt
Amanda Antholt

312 North May Street.
Suite LOO

Chicage, IL 60607

RESPECTFULLY SUBMITTED,

QE

Attorneys for Plaintiff

  

 

 

 

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UNITED STATES DISTRICT COURT
on ED FAR aheKe p NORTHERN DISTRICT OF ILLINOIS, .) DOCKETED
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1974, The data is required for Q © Clerk of Court for the purpose of initiating the civil docket sheet. The inlormation contained

herein neither replaces nor supplements the tiling and service of pleadings or other papers as required by law. This form ig authorized for
use only in the Norther District of Minois,

 

Defendant(s): City of Chicago, Police Officer BR. Turner,

Plaintiff(s): Janice Kasper Police Officer Jedry, Sergeant Hanlon, and other as-yet
Unknown Chicago Police Officers

County of Residence: Cook County of Residence:

Plaintiff's Atty: Loevy & Loevy Defendant's Atty:

312 N. May St., Smite 100
Chicago, I]. 60607
(312) 243-5900

IL. Basis of Junsdiction: 3, Federal Question (U.5. “SA
Il. Citizenship of Pringipal Partics C 7 O 4 1

(Diversity Cases Only)

 

Plaimtitt:- WiA
Defendant:- N/A

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TV, Origin : L, Original Proceeding
V. Nature of Suit: 440 Other Civil Rights
V1i.Cause of Action; 42 U.5.C. Section 1983

MAGIST
VIL Requested in Complaint RATE JUDGE ASHMAN

Class Achon:
Dollar Demand:
Jury Demand: Yes

VIL This case 1S NOT a refilling of a previously dismmssed case.

 

 

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Sergeant Hanlon, and other as-yet Unknown Chicago Police Officers geese cow SSP) BNE

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Plaintiff, Janice Kasper MAGISTRATE JUOGE AeA
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